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                                                           EXHIBIT 15
                                                UNITED STATES PATENT NO. 9,036,701
                                CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

As demonstrated in the chart below, ASUS directly and indirectly infringes at least claim 1 of US 9,036,701 (the “’701 Patent”). ASUS
directly infringes, contributes to the infringement of, and/or induces infringement of the ’701 Patent by making, using, selling, offering
for sale, and/or importing into the United States the Accused Products that are covered by one or more claims of the ’701 Patent. The
Accused Products are devices that decode H.265-compliant video. For example, the ASUS Q543MV Notebook (“ASUS Q543MV”) is
a representative product for other ASUS devices that decode H.265-compliant video.

      The ASUS Q543MV contains at least one video decoder that helps decode H.265-compliant video. 1 While evidence from the
ASUS Q543MV is specifically charted herein, the evidence and contentions charted herein apply equally to the other ASUS Accused
Products that decode H.265-compliant video.

      No part of this exemplary chart construes, or is intended to construe, the specification, file history, or claims of the ’701 Patent.
Moreover, this exemplary chart does not limit, and is not intended to limit, Nokia’s infringement positions or contentions.

        The following infringement chart includes exemplary citations to ITU-T Rec. H.265 (12/2016) High efficiency video coding
(available at https://www.itu.int/rec/T-REC-H.265-201612-S/en) (the “H.265 Standard”). The cited functionality has been included in
editions of the H.265 Standard since April 2013 and remains in current editions of the H.265 Standard. Any ASUS device that includes
a decoder that practices the functionality in any of these editions of the H.265 Standard (“H.265 Decoder”) practices the claims of the
’701 Patent. Thus, the Accused Products each practice the H.265 Standard and are covered by claims of the ’701 Patent.

       Nokia contends each of the following limitations is met literally, and, to the extent a limitation is not met literally, it is met under
the doctrine of equivalents. 2




1
 See, e.g., https://www.asus.com/us/laptops/for-home/everyday-use/asus-vivobook-pro-15-oled-q543/techspec/;
https://www.intel.com/content/www/us/en/products/sku/236849/intel-core-ultra-9-processor-185h-24m-cache-up-to-5-10-ghz/specifications.html;
https://developer.nvidia.com/video-encode-and-decode-gpu-support-matrix-new.
2
 This claim chart is based on the information currently available to Nokia and is intended to be exemplary in nature. Nokia reserves all rights to update and
elaborate its infringement positions, including as Nokia obtains additional information during the course of discovery.

                                                                                1
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                                                 EXHIBIT 15
                                      UNITED STATES PATENT NO. 9,036,701
                      CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

 U.S. PATENT NO. 9,036,701                                         ASUS ACCUSED PRODUCTS
1. [Pre] A method            Each of the Accused Products, such as the ASUS Q543MV, performs a method comprising the limitations
comprising:                  below.

                             For example, and without limitation, the Asus Q543MV uses hardware-accelerated decoding and includes
                             an NVIDIA GeForce RTX 4060 Laptop graphics processing unit (“GPU”) and an Intel Core Ultra 9
                             Processor 185H.




                             Source: https://www.asus.com/us/laptops/for-home/everyday-use/asus-vivobook-pro-15-oled-q543/techspec/
                             (last accessed March 6, 2025).




                                                             2
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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                         ASUS ACCUSED PRODUCTS
                            Source:    https://www.intel.com/content/www/us/en/products/sku/236849/intel-core-ultra-9-processor-185h-
                            24m-cache-up-to-5-10-ghz/specifications.html (last accessed March 6, 2025) (specifications for Intel Core
                            Ultra 9 185H).




                            Source: https://developer.nvidia.com/video-encode-and-decode-gpu-support-matrix-new (last accessed March
                            6, 2025) (row for 4060 Laptop GPU).

                            For example, an ASUS Q543MV was used to playback an H.265-compliant video.




                                                            3
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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                         ASUS ACCUSED PRODUCTS




                            Source: Screenshot of an ASUS Q543MV playing back an H.265-compliant video.


                            For example, and without limitation, the H.265 Standard specifies the following regarding the decoding
                            process. Each of the Accused Products performs a method comprising the limitations below.


                                 3 Definitions
                                 For the purposes of this Recommendation | International Standard, the following definitions apply.


                                                            4
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                                                   EXHIBIT 15
                                        UNITED STATES PATENT NO. 9,036,701
                        CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                            ASUS ACCUSED PRODUCTS
                                   ...
                                   3.12 bitstream: A sequence of bits, . . . , that forms the representation of coded pictures and
                                   associated data forming one or more coded video sequences (CVSs).
                                   ...
                                   3.25 coded picture: A coded representation of a picture . . .
                                   ...
                                   3.44 decoding process: The process specified in this Specification that reads a bitstream and derives
                                   decoded pictures from it.


                              ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 4 – 7.


[a] determining a frequency   Each of the Accused Products, such as the ASUS Q543MV, performs a method comprising determining a
of occurrence threshold       frequency of occurrence threshold based on an expected frequency of occurrence of syntax elements in a
                              bit stream.
based on an expected
frequency of occurrence of    For example, and without limitation, the H.265 Standard specifies the following regarding the decoding
syntax elements in a bit      process. Each of the Accused Products performs a method comprising
stream;                       determining a frequency of occurrence threshold based on an expected frequency of occurrence of syntax
                              elements in a bit stream.

                              The following specifications provide further evidence of how each of the Accused Products operates:


                                   3 Definitions
                                   For the purposes of this Recommendation | International Standard, the following definitions apply.
                                   ...


                                                               5
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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                        ASUS ACCUSED PRODUCTS

                                 3.153 syntax element: An element of data represented in the bitstream.
                                 …
                                 3.166 transform coefficient: A Scalar quantity, considered to be in a frequency domain, that is
                                 associated with a particular one-dimensional or two-dimensional frequency index in a transform in
                                 the decoding process.
                                 3.167 transform coefficient level: An integer quantity representing the value associated with a
                                 particular two-dimensional frequency index in the decoding process prior to scaling for computation
                                 of a transform coefficient value.

                            ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 12.




                                 ...




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                                                     EXHIBIT 15
                                          UNITED STATES PATENT NO. 9,036,701
                          CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                               ASUS ACCUSED PRODUCTS




                                       […]
                                  ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 58-59.



[b] categorizing a plurality of   Each of the Accused Products, such as the ASUS Q543MV, performs a method comprising categorizing a
syntax elements of video          plurality of syntax elements of video content into first and second categories based on the frequency of
                                  occurrence threshold, wherein syntax elements which occur greater than the frequency of occurrence
content into first and second
                                  threshold are categorized into the second category and syntax elements which occur less than the
categories based on the           frequency of occurrence are categorized into the first category.
frequency of occurrence
threshold, wherein syntax         For example, and without limitation, the H.265 Standard specifies the following regarding the decoding
elements which occur greater      process. Each of the Accused Products performs a method comprising
than the frequency of

                                                                   7
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                                                   EXHIBIT 15
                                        UNITED STATES PATENT NO. 9,036,701
                        CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

 U.S. PATENT NO. 9,036,701                                             ASUS ACCUSED PRODUCTS
occurrence threshold are       categorizing a plurality of syntax elements of video content into first and second categories based on the
categorized into the second    frequency of occurrence threshold, wherein syntax elements which occur greater than the frequency of
                               occurrence threshold are categorized into the second category and syntax elements which occur less than
category and syntax elements
                               the frequency of occurrence are categorized into the first category.
which occur less than the
frequency of occurrence are    The following specifications provide further evidence of how each of the Accused Products operates:
categorized into the first
category;




                                                                 8
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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                 ASUS ACCUSED PRODUCTS




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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                ASUS ACCUSED PRODUCTS




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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053   Document 1-15   Filed 04/07/25   Page 12 of 25 Page ID #:2101

                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                ASUS ACCUSED PRODUCTS




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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                ASUS ACCUSED PRODUCTS




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             Case 2:25-cv-03053      Document 1-15       Filed 04/07/25    Page 14 of 25 Page ID #:2103

                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                        ASUS ACCUSED PRODUCTS




                            ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 58-60.

                            As set out in the Residual Coding Syntax in section 7.3.8.11, an H.265 compliant decoder parses
                            sig_coeff_flags from the bit stream according to the logic reproduced below.

                                                           14
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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                           ASUS ACCUSED PRODUCTS




                            ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 59.

                                 7.4.9.11 Residual coding semantics
                                 ...
                                 sig_coeff_flag[ xC ][ yC ] specifies for the transform coefficient location ( xC, yC ) within the
                                 current transform block whether the corresponding transform coefficient level at the location ( xC,
                                 yC ) is non-zero as follows:
                                 –     If sig_coeff_flag[ xC ][ yC ] is equal to 0, the transform coefficient level at the location ( xC,
                                       yC ) is set equal to 0.
                                 –     Otherwise (sig_coeff_flag[ xC ][ yC ] is equal to 1), the transform coefficient level at the
                                       location ( xC, yC ) has a non-zero value.
                                 When sig_coeff_flag[ xC ][ yC ] is not present, it is inferred as follows:
                                 –      If ( xC, yC ) is the last significant location ( LastSignificantCoeffX, LastSignificantCoeffY )
                                       in scan order or all of the following conditions are true, sig_coeff_flag[ xC ][ yC ] is inferred
                                       to be equal to 1:
                                       –     ( xC & 3, yC & 3 ) is equal to ( 0, 0 ).
                                       –     inferSbDcSigCoeffFlag is equal to 1.

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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                        ASUS ACCUSED PRODUCTS
                                        –     coded_sub_block_flag[ xS ][ yS ] is equal to 1.
                                 –      Otherwise, sig_coeff_flag[ xC ][ yC ] is inferred to be equal to 0.
                                 ...

                            ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 111.

                                  9.3.4.2 Derivation process for ctxTable, ctxIdx and bypassFlag
                                 9.3.4.2.1 General
                                 Input to this process is the position of the current bin within the bin string, binIdx.
                                 Outputs of this process are ctxTable, ctxIdx and bypassFlag.
                                 The values of ctxTable, ctxIdx and bypassFlag are derived as follows based on the entries for binIdx
                                 of the corresponding syntax element in Table 9-48:
                                 –      If the entry in Table 9-48 is not equal to "bypass", "terminate" or "na", the values of binIdx are
                                        decoded by invoking the DecodeDecision process as specified in clause 9.3.4.3.2 and the
                                        following applies:
                                        –     ctxTable is specified in Table 9-4.
                                        –     The variable ctxInc is specified by the corresponding entry in Table 9-48 and when more
                                              than one value is listed in Table 9-48 for a binIdx, the assignment process for ctxInc for
                                              that binIdx is further specified in the clauses given in parenthesis.
                                        –     The variable ctxIdxOffset is specified by the lowest value of ctxIdx in Table 9-4
                                              depending on the current value of initType.
                                        –     ctxIdx is set equal to the sum of ctxInc and ctxIdxOffset.
                                        –     bypassFlag is set equal to 0.
                                 –      Otherwise, if the entry in Table 9-48 is equal to "bypass", the values of binIdx are decoded by
                                        invoking the DecodeBypass process as specified in clause 9.3.4.3.4 and the following applies:


                                                              16
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                                                   EXHIBIT 15
                                        UNITED STATES PATENT NO. 9,036,701
                        CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                             ASUS ACCUSED PRODUCTS
                                           –    ctxTable is set equal to 0.
                                           –    ctxIdx is set equal to 0.
                                           –    bypassFlag is set equal to 1.

                               ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 225.




                                    ...




                                    ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 225-227.

[c] entropy coding symbols     Each of the Accused Products, such as the ASUS Q543MV, performs a method comprising entropy coding
that correspond to the first   symbols that correspond to the first category of syntax elements and that have been subjected to a context
                               update.
category of syntax elements
and that have been subjected   For example, and without limitation, the H.265 Standard specifies the following regarding the decoding
to a context update; and       process. Each of the Accused Products performs a method comprising entropy coding symbols that
                               correspond to the first category of syntax elements and that have been subjected to a context update.

                                                                17
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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                           ASUS ACCUSED PRODUCTS

                            The following specifications provide further evidence of how each of the Accused Products operates:

                                 9.3.4.2 Derivation process for ctxTable, ctxIdx and bypassFlag
                                 9.3.4.2.1 General
                                 Input to this process is the position of the current bin within the bin string, binIdx.
                                 Outputs of this process are ctxTable, ctxIdx and bypassFlag.
                                 The values of ctxTable, ctxIdx and bypassFlag are derived as follows based on the entries for binIdx
                                 of the corresponding syntax element in Table 9-48:
                                 –      If the entry in Table 9-48 is not equal to "bypass", "terminate" or "na", the values of binIdx are
                                        decoded by invoking the DecodeDecision process as specified in clause 9.3.4.3.2 and the
                                        following applies:
                                        –    ctxTable is specified in Table 9-4.
                                        –    The variable ctxInc is specified by the corresponding entry in Table 9-48 and when more
                                             than one value is listed in Table 9-48 for a binIdx, the assignment process for ctxInc for
                                             that binIdx is further specified in the clauses given in parenthesis.
                                        –    The variable ctxIdxOffset is specified by the lowest value of ctxIdx in Table 9-4
                                             depending on the current value of initType.
                                        –    ctxIdx is set equal to the sum of ctxInc and ctxIdxOffset.
                                        –    bypassFlag is set equal to 0.
                                 ...

                            ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 225.

                                 9.3.4.3 Arithmetic decoding process
                                 9.3.4.3.1 General

                                                             18
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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                          ASUS ACCUSED PRODUCTS
                                 Inputs to this process are ctxTable, ctxIdx and bypassFlag, as derived in clause 9.3.4.2, and the state
                                 variables ivlCurrRange and ivlOffset of the arithmetic decoding engine.
                                 Output of this process is the value of the bin.
                                 Figure 9-5 illustrates the whole arithmetic decoding process for a single bin. For decoding the value
                                 of a bin, the context index table ctxTable and the ctxIdx are passed to the arithmetic decoding
                                 process DecodeBin( ctxTable, ctxIdx ), which is specified as follows:
                                 –      If bypassFlag is equal to 1, DecodeBypass( ) as specified in clause 9.3.4.3.4 is invoked.
                                 –      Otherwise, if bypassFlag is equal to 0, ctxTable is equal to 0 and ctxIdx is equal to 0,
                                        DecodeTerminate( ) as specified in clause 9.3.4.3.5 is invoked.
                                 –      Otherwise (bypassFlag is equal to 0 and ctxTable is not equal to 0), DecodeDecision( ) as
                                        specified in clause 9.3.4.3.2 is invoked.
                                 ...

                            ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 232.


                                 9.3.4.2.6   Derivation process of ctxInc for the syntax element coeff_abs_level_greater1_flag
                                 Inputs to this process are the colour component index cIdx, the current sub-block scan index i and
                                 the current coefficient scan index n within the current sub-block.
                                 Output of this process is the variable ctxInc.
                                 ...

                            ITU-T Rec. H.265 (12/2016) High efficiency video coding at p 231.

                                 9.3.4.2.7 Derivation process of ctxInc for the syntax element coeff_abs_level_greater2_flag
                                 Inputs to this process are the colour component index cIdx, the current sub-block scan index i and
                                 the current coefficient scan index n within the current sub-block.


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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                            ASUS ACCUSED PRODUCTS
                                  Output of this process is the variable ctxInc.
                                  ...

                            ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 232.


                            The symbols that correspond to the first category of syntax elements and that have been subjected to a
                            context update are the coeff_abs_level_greater1_flag, and coeff_abs_level_greater2_flag that are used to
                            represent, at least in part, the non-zero transform coefficient levels in the first category, as shown in Table
                            9-48 and described in section 9.3.2.5 of the H.265 Standard reproduced below, in which the process for
                            calculating the context for each of coeff_abs_level_greater1_flag and coeff_abs_level_greater2_flag is
                            provided.




                                  ...




                                  ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 225-227.

                                  9.3.2.5 Synchronization process for context variables, Rice parameter initialization states,
                                  and palette predictor variables


                                                              20
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                                                    EXHIBIT 15
                                         UNITED STATES PATENT NO. 9,036,701
                         CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                               ASUS ACCUSED PRODUCTS
                                     Inputs to this process are:
                                     –     The variables tableStateSync and tableMPSSync containing the values of the variables
                                           pStateIdx and valMps used in the storage process of context variables that are assigned to all
                                           syntax elements in clauses 7.3.8.1 through 7.3.8.12, except end_of_slice_segment_flag,
                                           end_of_subset_one_bit and pcm_flag.
                                     –     The variable tableStatCoeffSync containing the values of the variables StatCoeff[ k ] used in
                                           the storage process of context variables and Rice parameter initialization states.
                                     –     The variables PredictorPaletteSizeSync and tablePredictorPaletteEntriesSync containing the
                                           values used in the storage process of palette predictor variables.
                                     Outputs of this process are:
                                     –     The initialized CABAC context variables indexed by ctxTable and ctxIdx.
                                     –     The initialized Rice parameter initialization states StatCoeff indexed by k.
                                     –    The palette predictor variables, PredictorPaletteSize and PredictorPaletteEntries.
                                     ...
                                     ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 215.


[d] entropy coding symbols      Each of the Accused Products, such as the ASUS Q543MV, performs a method comprising entropy coding
that correspond to the second   symbols that correspond to the second category of syntax elements and that have bypassed context updating.
category of syntax elements
                                For example, and without limitation, the H.265 Standard specifies the following regarding the decoding
and that have bypassed          process. Each of the Accused Products performs a method comprising entropy coding symbols that
context updating.               correspond to the second category of syntax elements and that have bypassed context updating.

                                The following specifications provide further evidence of how each of the Accused Products operates:

                                     9.3.4.2 Derivation process for ctxTable, ctxIdx and bypassFlag


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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                        ASUS ACCUSED PRODUCTS
                              9.3.4.2.1 General
                              Input to this process is the position of the current bin within the bin string, binIdx.
                              Outputs of this process are ctxTable, ctxIdx and bypassFlag.
                              The values of ctxTable, ctxIdx and bypassFlag are derived as follows based on the entries for binIdx
                              of the corresponding syntax element in Table 9-48:
                              ...
                              –      Otherwise, if the entry in Table 9-48 is equal to "bypass", the values of binIdx are decoded by
                                     invoking the DecodeBypass process as specified in clause 9.3.4.3.4 and the following applies:
                                     –     ctxTable is set equal to 0.
                                     –     ctxIdx is set equal to 0.
                                     –     bypassFlag is set equal to 1.
                              ...




                              ...




                              ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 225-227.
                                                           22
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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                           ASUS ACCUSED PRODUCTS

                                 9.3.4.3 Arithmetic decoding process
                                 9.3.4.3.1 General
                                 Inputs to this process are ctxTable, ctxIdx and bypassFlag, as derived in clause 9.3.4.2, and the state
                                 variables ivlCurrRange and ivlOffset of the arithmetic decoding engine.
                                 Output of this process is the value of the bin.
                                 Figure 9-5 illustrates the whole arithmetic decoding process for a single bin. For decoding the value
                                 of a bin, the context index table ctxTable and the ctxIdx are passed to the arithmetic decoding
                                 process DecodeBin( ctxTable, ctxIdx ), which is specified as follows:
                                 –      If bypassFlag is equal to 1, DecodeBypass( ) as specified in clause 9.3.4.3.4 is invoked.
                                 –      Otherwise, if bypassFlag is equal to 0, ctxTable is equal to 0 and ctxIdx is equal to 0,
                                        DecodeTerminate( ) as specified in clause 9.3.4.3.5 is invoked.
                                 –      Otherwise (bypassFlag is equal to 0 and ctxTable is not equal to 0), DecodeDecision( ) as
                                        specified in clause 9.3.4.3.2 is invoked.
                                 ...

                            ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 232.




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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                          ASUS ACCUSED PRODUCTS




                                  Figure 9-5 – Overview of the arithmetic decoding process for a single bin (informative)

                              NOTE – Arithmetic coding is based on the principle of recursive interval subdivision. Given a probability
                              estimation p( 0 ) and p( 1 ) = 1 − p( 0 ) of a binary decision ( 0, 1 ), an initially given code sub-interval with
                              the range ivlCurrRange will be subdivided into two sub-intervals having range p( 0 ) * ivlCurrRange and
                              ivlCurrRange − p( 0 ) * ivlCurrRange, respectively. Depending on the decision, which has been observed, the
                              corresponding sub-interval will be chosen as the new code interval, and a binary code string pointing into that
                              interval will represent the sequence of observed binary decisions. It is useful to distinguish between the most
                              probable symbol (MPS) and the least probable symbol (LPS), so that binary decisions have to be identified as
                              either MPS or LPS, rather than 0 or 1. Given this terminology, each context is specified by the probability
                              pLPS of the LPS and the value of MPS (valMps), which is either 0 or 1. The arithmetic core engine in this
                              Specification has three distinct properties:


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                                                EXHIBIT 15
                                     UNITED STATES PATENT NO. 9,036,701
                     CLAIM CHART FOR INFRINGEMENT OF CLAIM 1 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 9,036,701                                            ASUS ACCUSED PRODUCTS
                                    –     The probability estimation is performed by means of a finite-state machine with a table-based
                                          transition process between 64 different representative probability states { pLPS( pStateIdx ) | 0 <=
                                          pStateIdx < 64 } for the LPS probability pLPS. The numbering of the states is arranged in such a
                                          way that the probability state with index pStateIdx = 0 corresponds to an LPS probability value of
                                          0.5, with decreasing LPS probability towards higher state indices.
                                    –     The range ivlCurrRange representing the state of the coding engine is quantized to a small set
                                          {Q1,...,Q4} of pre-set quantization values prior to the calculation of the new interval range. Storing
                                          a table containing all 64x4 pre-computed product values of Qi * pLPS( pStateIdx ) allows a
                                          multiplication-free approximation of the product ivlCurrRange * pLPS( pStateIdx ).
                                    –     For syntax elements or parts thereof for which an approximately uniform probability distribution is
                                          assumed to be given a separate simplified encoding and decoding bypass process is used.

                            ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 233.




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